


  PER CURIAM.
 

  Affirmed.
  
   See A.W. v. Dep’t of Children &amp; Family Servs.,
  
  969 So.2d 496, 497 (Fla. 1st DCA 2007) (“Appellant’s purported substantial compliance with her case plan was merely technical, at most, and in no way demonstrated her ability to comprehend and implement the basic parenting skills and practices necessary to assure her child’s health, safety, and well-being.”);
  
   M.M. v. Dep’t of Children &amp; Family Servs.,
  
  867 So.2d 573, 574 (Fla. 3d DCA 2004) (finding substantial, competent evidence that petitioner “has authored her own undoing”).
 
